Case 4:07-cr-00012-TSL-LRA   Document 93   Filed 07/21/08   Page 1 of 6
Case 4:07-cr-00012-TSL-LRA   Document 93   Filed 07/21/08   Page 2 of 6
Case 4:07-cr-00012-TSL-LRA   Document 93   Filed 07/21/08   Page 3 of 6
Case 4:07-cr-00012-TSL-LRA   Document 93   Filed 07/21/08   Page 4 of 6
Case 4:07-cr-00012-TSL-LRA   Document 93   Filed 07/21/08   Page 5 of 6
Case 4:07-cr-00012-TSL-LRA   Document 93   Filed 07/21/08   Page 6 of 6
